Case 1:20-cv-22800-RNS Document 98 Entered on FLSD Docket 03/11/2022 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 20-22800-Civ-SCOLA/TORRES

    DIEGO AGNELLI,

               Plaintiff/Counter-Defendant,

    vs.

    LENNOX MIAMI CORP.,

              Defendant/Counter-Plaintiff.
    ___________________________________/



                        ORDER COMPELLING ATTENDANCE AT TRIAL


          This matter is before the Court on Plaintiff’s motion for continuance of trial.

  For good cause shown, principally Plaintiff’s current inability to appear for trial as

  scheduled on March 28, 2022, the trial was continued to May 23, 2022. For that

  purpose, it is hereby ORDERED AND ADJUDGED:

          1.       Plaintiff Diego Agnelli is ORDERED to attend the trial set to begin

  Monday, May 23, 2022, and shall make any and all efforts necessary to secure

  authorization from the U.S. State Department and/or the U.S. Department of

  Homeland Security to attend the trial.

          2.       This Order shall serve to advise the U.S. State Department and/or the

  U.S. Department of Homeland Security of the Court’s interest in Mr. Agnelli’s

  physical attendance at the trial in this case. The orderly and speedy disposition of

  the action requires his physical presence.
Case 1:20-cv-22800-RNS Document 98 Entered on FLSD Docket 03/11/2022 Page 2 of 2




        3.   This Order may be provided to the U.S. State Department and/or the

  U.S. Department of Homeland Security.


        DONE AND ORDERED in Chambers at Miami, Florida this 11 day of

  March, 2022.

                                     ___________________________________
                                     EDWIN G. TORRES
                                     United States Magistrate Judge
